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                                        THE CITY OF NEW YORK
                                         LAW DEPARTMENT
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     VIA ECF                                                                       December 29, 2020

     The Honorable Alison J. Nathan
     United States District Court for the Southern District of New York
     Thurgood Marshall United States Courthouse
     40 Foley Square
     New York, NY 10007

            Re:     E.G., individually and as parent and natural guardian of A.I. and L.I., minor
                    children, et. al. v. City of New York, et al., No. 20-cv-9879 (AJN)

     Dear Judge Nathan:
             We write on behalf of Defendants to seek an extension of Defendants’ time to answer or
     otherwise respond to Plaintiffs’ Amended Complaint, which was filed on December 14, 2020. In
     light of Plaintiffs’ pending motion for a preliminary injunction, Defendants seek an extension
     from the current December 28, 2020 deadline until either (1) ten days after the Court issues a
     decision denying Plaintiffs’ motion, or a decision granting Plaintiffs’ motion, but without
     ordering an evidentiary hearing; or (2) thirty days after the conclusion of any evidentiary hearing
     in connection with Plaintiffs’ motion. This is Defendants’ first request for an extension.
     Plaintiffs state that they do not view Defendants’ request for an extension as timely under Rule
     15(a)(3), but do not object.

                                                  Respectfully Submitted,

                                                         /s/
                                                  Sabita Krishnan
                                                  Hope Y. Lu
                                                  Assistant Corporation Counsels


     cc: Counsel to All Parties (via ECF)
